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                            1    STEVEN HANLE, State Bar No. 168876
                                  shanle@sycr.com
                            2    MATTHEW STEPHENS, State Bar No. 288223
                                  mstephens@sycr.com
                            3    STRADLING YOCCA CARLSON & RAUTH
                                 A PROFESSIONAL CORPORATION
                            4    660 Newport Center Drive, Suite 1600
                                 Newport Beach, CA 92660-6422
                            5    Telephone: (949) 725-4000
                                 Facsimile: (949) 725-4100
                            6
                                 Attorneys for Plaintiffs
                            7    Edwards Lifesciences Corporation and
                                 Edwards Lifesciences LLC
                            8
                                                            UNITED STATES DISTRICT COURT
                            9
                            10                          NORTHERN DISTRICT OF CALIFORNIA

                            11                                        SAN FRANCISCO
                            12   Edwards Lifesciences Corporation, a            CASE NO. 4:19-cv-06593-HSG
                                 Delaware Corporation; Edwards
                            13   Lifesciences LLC, a Delaware Limited
                                 Liability Company,                             PLAINTIFFS’ REQUEST FOR
                            14                                                  JUDICIAL NOTICE IN SUPPORT
                                                 Plaintiff,                     OF OPPOSITION TO
                            15                                                  DEFENDANTS’ MOTION TO
                                                 vs.                            DISMISS
                            16
                                 Meril Life Sciences Pvt. Ltd., and
                            17   Meril, Inc.,                                   DEMAND FOR JURY TRIAL
                            18                   Defendant.
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        LAWYERS
   N E W P O R T B E AC H
                                                                REQUEST FOR JUDICIAL NOTICE
                                                                                        CASE NO. 4:19-cv-06593
                                 4834-3828-3950v2/104315-0004
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                            1            Plaintiffs’ Edwards Lifesciences Corporation and Edwards Lifesciences
                            2    LLC. (“Edwards” or “Plaintiff”) hereby request, pursuant to Federal Rule of
                            3    Evidence 201 and in connection with Defendants Meril Life Sciences Pvt. Ltd.,
                            4    and Meril, Inc.’s (“Meril” or “Defendant”) Motion Dismiss [ECF No. 22], that this
                            5    Court take judicial notice of certain facts as set forth below. Edwards specifically
                            6    requests that the Court take judicial notice of the National Institute of Health’s
                            7    ClinicalTrials.gov database, relevant screenshots of which are attached hereto as
                            8    Exhibits A.
                            9            The Court should take judicial notice of facts within this database because
                            10   they are matters of common knowledge that can readily be ascertained and is not
                            11   reasonably subject to dispute. Under Federal Rule of Evidence 201, a court shall
                            12   take judicial notice “if a party requests it and the court is supplied with the
                            13   necessary information.” Fed. R. Evid. 201(c)(2). A court may take judicial notice
                            14   of a fact “not reasonably subject to dispute because it: (1) is generally known
                            15   within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
                            16   determined from sources whose accuracy cannot reasonably be questioned.” Id. at
                            17   201(b).
                            18           Courts can and have taken judicial notice of “information on government
                            19   agency websites, which have often been treated as proper subjects for judicial
                            20   notice.” Paralyzed Veterans of Am. v. McPherson, No. C 06-4670 SBA, 2008 U.S.
                            21   Dist. LEXIS 69542, at *17 (N.D. Cal. Sep. 8, 2008).” Specifically, judicial notice
                            22   has been taken of reports available on the National Institute of Health’s
                            23   ClinicalTrials.gov database. Mattera v. Biosurface Eng'g Techs., Inc., No. CV 13-
                            24   08991-R, 2014 U.S. Dist. LEXIS 195359, at *3 (C.D. Cal. Feb. 5, 2014) (taking
                            25   notice of “clinical trials history as reported by ClinicalTrials.gov, a service of the
                            26   National Institutes of Health”); Weinstein v. Kirkman, No. C13-0769-JCC, 2013
                            27   U.S. Dist. LEXIS 194270, at *3 n.2 (W.D. Wash. Sep. 16, 2013) (taking judicial
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        LAWYERS
   N E W P O R T B E AC H
                                                                REQUEST FOR JUDICIAL NOTICE
                                                                                        CASE NO. 4:19-cv-06593
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                                   Case 4:19-cv-06593-HSG Document 27 Filed 12/11/19 Page 3 of 3


                            1    notice of “a clinical trial design document published on the National Institutes for
                            2    Health's website at clinicaltrials.gov.”)
                            3            Exhibit A is a screenshot from the National Institute of Health’s
                            4    ClinicalTrials.gov database. The screenshot shows that search of “Meril” on the
                            5    ClinicalTrials.gov database in the “Sponsor” or “Other terms” fields returns no
                            6    entries for studies involving Meril’s Myval transcatheter aortic replacement valve
                            7    or Navigator delivery system. Defendants have not disputed, and cannot
                            8    reasonably dispute, that this database publicly-accessible through the National
                            9    Institute of Health’s webpage cannot be accurately and readily determined from
                            10   sources whose accuracy cannot reasonably be questioned.
                            11           For the foregoing reasons, Edwards respectfully requests that the Court take
                            12   judicial notice of the absence of any studies involving Meril’s Myval transcatheter
                            13   aortic replacement valve or Navigator delivery system listed on the National
                            14   Institute of Health’s ClinicalTrials.gov database.
                            15
                                 DATED: December 11, 2019                     STRADLING YOCCA CARLSON &
                            16                                                RAUTH A PROFESSIONAL
                                                                              CORPORATION
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                                                                              By:
                            19                                                      Steven Hanle
                                                                                    Matthew Stephens
                            20                                                      Attorneys for Plaintiff
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        LAWYERS
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